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                       IN THE UNITED STATES DISTRICf COURT
                      FOR THE NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION


    UNITED STATES OF AMERICA
                                                 CRIMINAL ACTION
    v.
                                                 NO.1:13-cr-045-JEC-'1
    ALONSO ALFONSO RIVERA


         REPORT AND RECOMMENDAnON CONCERNING PLEA OF GUlLTY1

           The defendant, Alonso Alfonso Rivera ("defendant"), by consent, has

    appeared before the undersigned United States Magistrate Judge and has entered

    a plea of guilty to Counts One and Seven of the Indictment. After cautioning and

    examining the defendant under oath concerning each of the subjects mentioned in

    Rule 11, I have determined that the guilty plea was knowing and voluntary, and that

    the plea to the offenses charged is supported by an independent basis in fact

    establishing each of the essential elements of the offenses. I have also determined

    that, to the maximum extent permitted by federalla w, the defendant has voluntarily

    and expressly waived his right to appeal the conviction and sentence and the right

    to collaterally attack his sentence in any post-conviction proceedings, including by

    motion filed pursuant to 28 US.c. § 2255, on any ground, except that the defendant


           1Failure to file written objections to this Report and Recommendation within
    FOURTEEN (14) DAYS after service of a copy of this Report and Recommendation
    shall bar an aggrieved party from attacking such Report and Recommendation
    before the assigned United States District Judge. 28 US.c. § 636(b)(I)(B).
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may file a direct appeal of an upward departure or a variance from the sentencing

guideline range as calculated by the district court, and if the Government appeals

the sentence imposed, the defendant may also file a cross-appeal of that same

sentence. It is, therefore, RECOMMENDED that the plea of guilty be accepted and

that the defendant be adjudged guilty and have sentence imposed accordingly.

      IT IS SO RECOMMENDED this 30th day of August, 2013.



                                      RUSSELLG. VINEYAR
                                      UNITED STATES MAGISTRATE JUDGE




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